  Case 18-32460-VFP             Doc 3 Filed 11/15/18 Entered 11/16/18 00:52:36                         Desc Imaged
                                     Certificate of Notice Page 1 of 3
Form osc1006 − osclr1006v27

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 18−32460−VFP
                                          Chapter: 7
                                          Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Regina Graziadio
   101 Kendall Drive
   Ringwood, NJ 07456
Social Security No.:
   xxx−xx−1468
Employer's Tax I.D. No.:


                          ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE
                              DISMISSED FOR FAILURE TO COMPLY WITH
                    D.N.J. LBR 1006−1, PAYMENT OF FILING FEES IN INSTALLMENTS

    The Court having noted that the debtor filed a petition on November 12, 2018, and has failed to comply with the
Court?s local rule, D.N.J. LBR 1006−1, Payment of Filing Fees in Installments as noted below:

              Debtor has not paid the filing fee in the amount of $335.00 in full at the time of the filing of the
petition.

              Debtor has not submitted an Application for Individuals to Pay the Filing Fee in Installments.

              Debtor has submitted an Application for Individuals to Pay the Filing Fee in Installments, but has not
paid with the petition the first installment payment in an amount equal to at least 25% of the filing fee.
     It is hereby
     ORDERED that the following document and/or fee must be submitted to the Clerk on or before 11/26/18 or the
case will be dismissed.

              Full filing fee in the amount of $335.00

              Application for Individuals to Pay the Filing Fee in Installments

              Initial installment payment in the amount of $

              Balance of initial installment payment due in compliance with D.N.J. LBR 1006−1, in the amount of $

    If you object to dismissal you may file a written objection or request for a hearing with the Clerk of the
Bankruptcy Court at the address above. The objection or request must be received by the Clerk no later than
11/26/18.

     If an objection or request for a hearing is filed, you or your attorney must appear at a hearing to be held before
the Honorable Vincent F. Papalia on
Date: December 4, 2018
  Case 18-32460-VFP          Doc 3 Filed 11/15/18 Entered 11/16/18 00:52:36           Desc Imaged
                                  Certificate of Notice Page 2 of 3
Time: 10:00 am
Location: Courtroom 3B
Address: Martin Luther King, Jr . Federal Building
           50 Walnut Street
           3rd Floor
           Newark, NJ 07102




Dated: November 13, 2018
JAN: ntp

                                                     Vincent F. Papalia
                                                     United States Bankruptcy Judge
        Case 18-32460-VFP              Doc 3 Filed 11/15/18 Entered 11/16/18 00:52:36                               Desc Imaged
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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 18-32460-VFP
Regina Graziadio                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Nov 13, 2018
                                      Form ID: osc1006                   Total Noticed: 2

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 15, 2018.
db             +Regina Graziadio,   101 Kendall Drive,   Ringwood, NJ 07456-1824

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Nov 14 2018 00:23:07     United States Trustee,
                 Office of the United States Trustee,   1085 Raymond Blvd.,   One Newark Center,   Suite 2100,
                 Newark, NJ 07102-5235
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 15, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 13, 2018 at the address(es) listed below:
              John P. Fazzio   on behalf of Debtor Regina Graziadio jfazzio@fazziolaw.com,
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 2
